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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

OHIO SECURITY INSURANCE COMPANY,               :
As subrogee of Temple Beth El of Allentown,   :
Inc.,                                         :
                           Plaintiff,         :         CIVIL ACTION NO. 18-1438
                                              :
       v.                                     :
                                              :
MYERS POWER PRODUCTS, INC.,                   :
                   Defendant.                 :

                                         ORDER

       AND NOW, this 23rd day of October, 2018, the parties having settled the above-

captioned action, and pursuant to Rule 41.1(b) of the Local Rules of Civil Procedure of this

Court, it is hereby ORDERED that this action is DISMISSED WITH PREJUDICE, pursuant

to agreement and without costs.

                                          BY THE COURT:




                                          By: /s/ Shana Restucci
                                            Shana Restucci, Civil Deputy Clerk
                                            The Honorable Edward G. Smith
                                            Shana_Restucci@paed.uscourts.gov
